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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

                                      )
  IN RE: JOHNSON & JOHNSON            )
  TALCUM POWDER PRODUCTS              )
  MARKETING, SALES PRACTICES AND )             No. 3:16-md-02738-MAS-RLS
  PRODUCTS LIABILITY LITIGATION       )
  ___________________________________ )
                                      )
  This Document Relates To All Cases  )
                                      )

        DEFENDANTS OPPOSITION TO PLAINTIFFS STEERING
       COMMITTEES MOTION FOR THE ENTRY OF AN ORDER TO
                     ESTABLISH A CENSUS
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        This latest missive from the Plaintiffs Steering Committee (PSC), led by

  Beasley Allen, is based on a knowingly false premise. Namely, despite the PSCs

  continuous assertions otherwise, this multidistrict litigation proceeding (MDL)

  has never existed solely to address ovarian cancer. To the contrary, the MDLs

  scope was defined from the very first day as encompassing all actions involving

  common factual questions regarding alleged carcinogenic properties of talc. In

  re Johnson & Johnson Talcum Powder Prods. Mktg., Sales Pracs. & Prods. Liab.

  Litig., 220 F. Supp. 3d 1356, 1358 (J.P.M.L. 2016) (emphasis added). And

  consistent with that stated scope, virtually every PSC member firmincluding

  lead counsel Beasley Allenfiled non-ovarian cancer claims before this Court.

        These stark facts leave no real question that the motion is nothing more than

  a dressed-up media statement, premised on false attestations, designed to present a

  misleading narrative in furtherance of ongoing efforts to derail the pending offer

  that would resolve all the talc-related claims pending before this Court. More

  generally, the motion is part of a pattern of behavior in recent weeks that suggests

  the PSC has lost all sense of its authentic function and purpose. Instead of

  focusing its efforts on prosecuting the claims of its clients and the other women

  that comprise this MDL, it now devotes its every waking moment to a singular

  goal: saturating this Court with a continuous stream of motions, designed to foment

  headlines and keep Defendants in a constant churn of brief writing, all in the
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  misguided hope that the calculated chaos will somehow distract Defendants and

  counsel representing the vast majority of women in the talc litigation from their

  ongoing efforts to reach a full, fair and final resolution of this matter. These

  theatrics are misguided and have grown more than tedious.

        After lauding itself for nearly eight years of work advancing its duties and

  obligations to the MDL, the PSCs decision to launch this latest hand grenade is

  particularly ironic: In the midst of Rule 702 briefing and mere months before the

  long-awaited first bellwether trialover which the PSC has time and again banged

  its proverbial fist and insisted that the Court must move to with greater hastethe

  PSC suddenly seeks an abrupt pause to these proceedings. Now, despite yelling

  from every (media-supplied) rooftop in sight that its clients need their day in court,

  the PSC apparently wishes to upend the work of this MDL, and inevitably delay

  any bellwether trial, so that it can distract the Court with a census registry process

  designed to elicit discovery into the scope of as-yet-unfiled claimsspecifically,

  the number of such claims involving ovarian cancer as opposed to other

  gynecological cancers.

        The request is a thinly veiled attempt to litigate potential future bankruptcy

  issues in this Court, and even more concerningly, to blow up Defendants ongoing

  efforts to negotiate a global resolution that would result in compensation for the

  PSCs own clients. Such tactics are hardly surprising when one considers that, in a

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  matter of months, lead counsel (Beasley Allen) has (i) entered into an alliance with

  a former Johnson & Johnson lawyer; (ii) falsely asserted in papers to this Court

  that Defense counsel solicited a Beasley Allen client, despite its own proffered

  evidence proving the precise opposite; (iii) failed to communicate Defendants

  settlement offers to at least one client, raising the specter of more; (iv) potentially

  flouted the rules of this Court that mandate the disclosure of litigation financing;

  (v) asserted fraudulent conveyance claims that are directly refuted by the positions

  it took in bankruptcy, purely as a communication tactic designed to thwart

  Defendants ongoing solicitation that would result in a comprehensive resolution

  of this MDL; and (vi) brought a meritless TRO/PI motion, and related appeal that

  was summarily denied, to do the same.1 Given that the latest motion is built on a

  demonstrably false premise, and includes a number of false attestations, the Court

  should see it immediately for precisely what it is: more of the same.




  1
   See ECF 28760; ECF 32251; ECF 32200; ECF 32827; Love v. LLT Management
  LLC, No. 3:24-cv-06320-MAS-RLS (D.N.J. May 22, 2024) (Love), Complaint
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  2024), Order Denying Mot. for Injunction Pending Appeal or, Alternatively, to
  Expedite Appeal (ECF 26).


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        As for the substance of the PSCs arguments, of which there is little, its plea

  for an immediate census should fail for at least three reasons.

        First, the PSC argues that a census identifying the type of cancer in unfiled

  claims would provide a greater understanding of the size of the MDL and could

  be helpful for negotiating a global resolution of the litigation. (Mot. at 4.) As an

  initial matter, the proposition that assessing claims outside the MDL would shine

  light on the size of the MDL is nonsensical on its face. (Id.) As for the

  proposition that immediate review of such claims would advance the goal of

  settlement, the PSCs request seeks to do the exact opposite by collaterally

  attacking Defendants proposed bankruptcy, which the PSC does not dispute is

  supported by approximately 71,000 persons whose cancers were allegedly

  caused by cosmetic talc and would thus be compensated under the Plan. (Id. at 3.)

  Essentially, the PSC speculates that a substantial percentage of these persons do

  not suffer from ovarian cancer and therefore should not be part of any global

  settlement. (Id.) However, the PSCs opposition to Defendants settlement

  effortswhich appears to be based on its quest for greater attorney compensation,

  not compensation for its clientsis not only unhelpful to settlement efforts, it is

  also a matter for the bankruptcy court, not this MDL.




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        Second, as already noted, the PSCs motion is based on a false premise

  i.e., that any claims not involving ovarian cancer2 are beyond the scope of this

  MDL. (Mot. at 2.) Beyond the order defining the scope of the MDL, see In re

  Johnson & Johnson, 220 F. Supp. 3d at 1358, the PSCs supposition flies in the

  face of its own behavior for the past eight years. The very first transfer order for

  this MDL included both ovarian and uterine cancer cases. See id. This filing trend

  continues even today, with Beasley Allen (the primary signatory of this motion)

  alone filing nearly 100 non-ovarian cases, thereby certif[ying] that these non-

  ovarian cancer cases have evidentiary support and are nonfrivolous. Fed. R.

  Civ. P. 11(b)(2)-(3). And, of course, these same cases have never been dismissed.

  Thus, the PSCs suggestion that such claims have no merit raises serious questions

  about whether these law firms are complying with their ethical responsibilities and

  the Rules of Civil Procedure.

        Third, a census at this particular stage of the MDL would be inefficient and

  burdensome, distracting the parties and the Court from critical Rule 702 motion

  practice. Once this pivotal stage is completed, Defendants would welcome a

  census of all currently filed and potential (unfiled) claims, whether before or after

  any bellwether trial. Indeed, Defendants hope that this motion signifies a shift in


  2
        The PSC defines ovarian cancer as epithelial ovarian cancer, fallopian tube
  cancer or primary peritoneal cancer. (Mot. at 1.)

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the much-needed direction of early and collaborative vetting protocols designed to

test the validity and strength of mass filed (or aggregated but merely threatened)

claims, and that the members of the PSC will be leaders in encouraging the

adoption of such techniques at the outset of future MDL proceedings, which is

when such procedures should be employedi.e., before the parties proceed with

expensive and burdensome discovery. Given the recent position of the American

Association for Justice (AAJ) (the worlds largest plaintiff trial bar) strongly

opposing a proposed MDL rule codifying such a requirement, Defendants were not

holding their breath that firms like Beasley Allen would embrace the importance of

such claim vetting procedures. (See Letter from American Association for Justice

to Committee on Rules of Practice and Procedure (AAJ Letter), Feb. 15, 2024, at

9 (opposing proposed amendment to 16.1(c)(4) regarding claim sufficiency [as]

a step backwards) (Ex. 1 to Cert. of Kristen Fournier (Fournier Cert.)).) But,

rest assured, now that they have signaled their break from the AAJ through support

for such procedures, Defendants will be pleased to collaborate with Beasley Allen

and other PSC firms on such efforts in this and other litigations.

      In short, for all of these reasons (elaborated in greater detail below), the

Court should recognize the transparency of the PSCs timing, and defer the

creation of a census, registry or similar such program until after the upcoming Rule

702 briefing and hearings have been completed.

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                                  BACKGROUND

      The Judicial Panel on Multidistrict Litigation created this proceeding to

eliminate duplicative discovery . . . and conserve the resources of the parties, their

counsel, and the judiciary in [a]ll federal cases involv[ing] factual questions

relating to the risk of cancer posed by talc and talc-based body powders, whether

the defendants knew or should have known of this alleged risk, and whether

defendants provided adequate instructions and warnings with respect to the

products. In re Johnson & Johnson, 220 F. Supp. 3d at 1357-58 (emphasis

added). While [t]he majority of the initial cases in the MDL were ovarian cancer

actions, they also included claims involving uterine cancer and even consumer

class actions generally alleging deceptive marketing and failure to disclose talcs

purportedly carcinogenic properties. Id. at 1357; (see also Schedule CTO-1;

Compl., Musgrove v. Johnson & Johnson (Musgrove Compl.), No. 1:16-cv-

06847 (filed June 29, 2016) (Ex. 2 to Fournier Cert.); Compl., Gould v. Johnson &

Johnson (Gould Compl.), No. 4:16-cv-03838-HSG (filed July 8, 2016) (Ex. 3 to

Fournier Cert.).)

      Over the next several years, the MDL expanded dramaticallythanks in no

small part to rampant attorney advertising and third-party litigation funding

becoming one of the largest MDL proceedings in history. The proceeding has

swelled to more than 32,728 total pending lawsuits. And although the majority of

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those lawsuits involve epithelial ovarian, fallopian tube or primary peritoneal

cancers (28,851), a substantial portion of them involve other diseases:

             200 cases involving cervical cancer

             747 cases involving endometrial/uterine cancer

             1,096 cases involving mucinous ovarian cancer

             1 case involving non-gynecological cancer

             1 case involving stromal cancer3

Notably, many of these non-ovarian cancer cases were brought by PSC law firms.

In particular, as shown in the attached chart, Beasley Allen has filed close to 100

such cases; Motley Rice and Milberg Coleman have each brought 24 of them; and

Golomb Spirt Grunfeld has initiated 19 non-ovarian cancer cases. (See Chart (Ex.

4 to Fournier Cert.).)

      As further proof of this trend, one need only peruse the aforementioned

PPFs, all of which were prepared under oath, to ascertain the wide variety of

claims asserted in this MDL. By way of example, Small v. Johnson & Johnson,

brought by Beasley Allen, involves a claim that Ms. Small was allegedly

diagnosed with cervical cancer in 1986. (See Pl. Profile Form, Small v. Johnson &


3
  These statistics are based on the allegations sworn to by roughly 70% of the filed
cases through their plaintiff profile forms (PPF). Any given category may, in
fact, be even larger in light of the fact that roughly 30% of claimants have not yet
been required to complete the PPF.

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Johnson (Small PPF) ¶ 3, No. 3:18-cv-16457-FLW-LHG (filed Nov. 27, 2018)

(Ex. 5 to Fournier Cert.).)




Similarly, the specific disease at issue in Zirpolo v. Johnson & Johnson (another

Beasley Allen case) is endometrial (uterine) cancer. (See Pl. Profile Form,

Zirpolo v. Johnson & Johnson (Zirpolo PPF) ¶ 3, No. 3:19-cv-01454-FLW-LHG

(filed Jan. 30, 2019) (Ex. 6 to Fournier Cert.).)




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       As noted above, the wide variety of injuries alleged in the Beasley Allen

cases mirrors the breadth of non-ovarian cancer-based claims brought by other law

firms that also are members of the PSC pending in this MDL. (See Chart (Ex. 4 to

Fournier Cert.).) For example, in Musgrove v. Johnson & Johnson, a plaintiff

represented by Burns Charest LLP alleges that [t]he development of uterine

cancer by Mrs. Musgrove was the direct and proximate result of her use of

Johnsons Baby Powder and Shower to Shower. (Musgrove Compl. ¶ 44

(emphasis added).) That lawsuit expressly claims that there is a link between

endometrial cancer, a form of uterine cancer, and the application of talcum powder

to the perineal area. (Id. ¶ 20.) These allegations mirror those being made in

another caseGould v. Johnson & Johnson. (See Gould Compl. ¶ 1 (This action

arises out of Plaintiff Dolores Goulds diagnosis of uterine cancer, which was

directly and proximately caused by her regular and prolonged exposure to talcum

powder . . . .).)

       As these lawsuits and the ones involving ovarian cancer continued to mount,

it soon became clear that the sheer size of this MDL weighed in favor of some

form of global settlement. That reality prompted the formation of LLT (previously

LTL)a subsidiary established to hold and manage claims in talcum powder

litigation, which then filed for Chapter 11 bankruptcy protection. Although the

Third Circuit ultimately dismissed the first petition, it expressly recognized that

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the progression of the multidistrict litigation on a separate track would continue to

sharpen all interested parties views of mutually beneficial settlement values. In

re LTL Mgmt., LLC, 64 F.4th 84, 108 (3d Cir. 2023) (highlighting benefit of a

meaningful global or near-global settlement). Then, in dismissing the second

petition, the presiding bankruptcy judge, Judge Kaplan, specifically urge[d] the

parties to build upon the remarkable progress that has been achieved in the past

120 days in reaching a viable global settlement. In re LTL Mgmt., LLC, 652 B.R.

433, 455 (Bankr. D.N.J. 2023).

      While Defendants have heeded those calls, the PSC (led by Beasley Allen)

has strenuously flouted them, flooding this Court with frivolous motions and

taking to their soap box with ad hominem attacks against Defendants and their

counsel. This motion is just the latest example of the PSCs obstructionist strategy.

                                    ARGUMENT

      The PSCs motion for a census registry should be denied at this time and/or

deferred to a later date because: (1) it is a baseless collateral attack on Defendants

global settlement efforts; (2) it mispresents the scope of the talc litigation; and (3)

it threatens to frustrate the efficient administration of the MDL.

      First, the PSC asserts that a census will provide a greater understanding of

the size of the MDL and could be helpful for negotiating a global resolution of the

litigation. (Mot. at 4.) But that assertion strains credulity and is belied by the

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repeated attacks throughout the PSCs motion on Defendants good-faith attempts

to reach a global settlement of the talc litigation. Indeed, the crux of the PSCs

motion is to denigrate the votes of claimants it acknowledges support a global

settlement on the ground that their claims involve non-ovarian cancer-based

claims. (Id. at 11.) In truth, while the PSC accuses Defendants of weaponizing

those votes to the supposed detriment of ovarian cancer claimants, it is the PSC

that is hijacking this MDL to derail Defendants ongoing settlement efforts. (Id. at

11, 3.)

      Moreover, the PSCs motion is just the latest example of its strategy aimed

at obstructing a global settlement. As previously discussed, Beasley Allen, with

support from certain members of the PSC, is waging an all-out anti-vote campaign

in the hopes of scuttling current efforts to bring global resolution to the talc

litigation. Its efforts know no bounds, including refusing to communicate

Defendants settlement offers to firm clients and joining forces with one of

Defendants former lawyers to concoct a competing settlement designed to enrich

lawyers, not claimants.

      Indeed, just like this motion, the whirlwind of filings this Court has been

subjected to in recent weeks have each been designed to promote the interests of

the PSC, not those of talc claimants (both ovarian cancer patients and non-

gynecological cancer patients alike). The PSCs latest motion is clearly designed

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to accomplish the same objective by needlessly prolonging thousands of claims

that could never be litigated to trial in the hope of securing a windfall for lawyers.

In short, granting the PSCs motion would underminerather than facilitate

efforts to negotiate a global resolution of the talc litigation.

      Second, contrary to the PSCs repeated claims, other gynecological cancer

claims are not beyond the scope of this MDL. (Mot. at 2.) The JPML broadly

constructed this MDL to encompass [a]ll federal cases involv[ing] factual

questions relating to the risk of cancer posed by talc, In re Johnson & Johnson,

220 F. Supp. 3d at 1357 (emphasis added), including ovarian or other

gynecological cancer, In re Johnson & Johnson Talcum Powder Prods. Mktg.,

Sales Practices & Prods. Liab. Litig., MDL 2738, 2017 U.S. Dist. LEXIS 214411,

at *2 (J.P.M.L. Apr. 6, 2017) (emphasis added). That explains why there are

presently 747 cases involving endometrial/uterine cancer and 200 cases involving

cervical cancernearly 50 of which were brought by the Beasley Allen firm alone

and were supported by PPFs (signed under oath) attributing cervical and

endometrial cancer diagnoses to perineal application of Johnsons Baby Powder

and Shower to Shower. (See, e.g., Small PPF; Zirpolo PPF.) And, it cannot be

emphasized enough, the PSC has never sought to withdraw or dismiss these

claims, even as it presses frivolous motions and repeats its counterfactual talking

points regarding the scope and history of this MDL.

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       While the PSC now claims that the truly injured women are those who

suffer from ovarian cancer (Mot. at 3), the filing of numerous cases involving

other gynecological cancers implicitly certifie[d] that to the best of [counsels]

knowledge . . . formed after an inquiry reasonable under the circumstances . . . the

factual contentions have evidentiary supporti.e., that these non-ovarian cancer

patients were also injured. Fed. R. Civ. P. 11(b)(3). As a result, either the PSC

chose to commence and/or at least ignore nearly 1000 incidents of frivolous

litigation or it is right now fabricating a false narrative to support its bid for a

census. Either comes dangerously close to approaching a fraud on the Court and

likely constitutes clear violations of the New Jersey Rules of Professional

Responsibility and Rule 11. See Wharton v. Vaughn, No. 01-cv-6049, 2022 U.S.

Dist. LEXIS 164138, at *13-14 (E.D. Pa. Sept. 12, 2022) (granting motion for

sanctions; Although Rule 11 does not include all aspects of the ethical duty of

candor to the Court, that obligation informs Rule 11s prohibition on making

unsupported factual contentions.) (citing Notes of the Advisory Committee on the

1993 Amendment) (Rule 11 emphasizes the duty of candor)). In short, the

repeated claims made in the PSCs motion about the scope of this MDL are

blatantly false and further highlight the impropriety of its sudden request for a

census.




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      Third, the PSCs motion separately fails because it would disrupt the fair

and efficient administration of the MDL. While the PSC cites a handful of orders

from other MDLs approving of census registries or requiring plaintiffs to produce

pre-discovery information regarding the nature and cause of their claims, they are

designed to handle the complex issues and potential burdens on defendants and

the court in mass tort litigation. Acuna v. Brown & Root, Inc., 200 F.3d 335, 340

(5th Cir. 2000) (emphasis added). In other words, [t]he[ir] basic purpose . . . is to

identify and cull potentially merit less claims and streamline litigation in complex

cases. In re Vioxx Prods. Liab. Litig., 557 F. Supp. 2d 741, 743 (E.D. La. 2008).

Accordingly, and as the defense bar has repeatedly advocated and proposed by

formal rulemaking, MDL judges should craft procedures for an early check into

the most basic elements of the claims.4

      Here, by contrast, the PSC is seeking such a procedure in the midst of Rule

702 motion practice and just months before a potential bellwether trial. Adopting

such a procedure at this stage of the proceedings would disrupt the parties and the




4
       See Lawyers for Civ. Justice, Comment Letter on Proposed Rule 161. On
Multidistrict Litigation at 37 (Sept. 18, 2023) (emphasis added),
https://www.uscourts.gov/sites/default/files/testimony_packet_for_october_16_202
3_final_10-11.pdf; see also Dri Ctr. For L. & Pub. Poly, Comment Letter on
Proposed Rule 16.1 on Multidistrict Litigation (Oct. 11, 2023),
https://www.dri.org/docs/default-source/center-law-public-policy/dri-center-
comment-on-proposed-frcp-16-1_final2.pdf?sfvrsn=2.

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Courts important focus on completing these critical pre-trial activities. Instead, a

census of unfiled claims should be deferred until after the Rule 702 motions are

adjudicated.

      Finally, it bears highlighting that the PSCs embrace of claims-vetting is

contrary to the worlds largest plaintiff trial barof which the PSC firms are

presumably memberswhich has strenuously opposed any and all early vetting

measures as extreme and controversial.5 While Defendants welcome the

PSCs change of heart on reform of the MDL system (and look forward to

implementing early claims-vetting procedures in future MDLs), this raises further

questions about the PSCs motivation for filing the underlying motion and

reinforces its lack of merit.

                                  CONCLUSION

      For the foregoing reasons, the Court should deny the PSCs motion for a

census.




5
      See AAJ Letter, at 9-10.

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Dated: July 19, 2024                Respectfully submitted,

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                        CERTIFICATION OF SERVICE

      I hereby certify that on July 19, 2024, a true and correct copy of the

foregoing motion was filed electronically. Notice of this filing will be sent by

operation of the Courts electronic filing system to all parties indicated on the

electronic filing receipt. Parties may access this filing through the Courts system.


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